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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


United States of America,                               Cr. File No. 15-260(2) (PAM/TNL)

                            Plaintiff,

v.                                                                                 ORDER


Walter Ronaldo Martinez Escobar,

                            Defendant.


       This matter is before the Court on Defendant’s objection to the Amended Case

Management Order (Docket No. 188).

       The Court reviews the decisions of a magistrate judge on non-dispositive matters for

clear error. 28 U.S.C. § 636(b)(1)(A). Having conducted the required review, the Court

denies the objection.

       Defendant Martinez Escobar objects to Magistrate Judge Leung’s decision to grant

the Government an extension of deadlines in this case. According to Martinez Escobar, none

of the Government’s reasons for requesting an extension are sufficient to establish that the

“ends of justice served by [the extension] outweigh the best interests of the public and the

defendant in a speedy trial.” 18 U.S.C. § 3161(h)(7)(A).

       Martinez Escobar’s objections to the Magistrate Judge’s decision to grant an extension

of deadlines are without merit. Although Martinez Escobar made his initial appearance in

August, many other Defendants in this multiple-Defendant case did not appear at that time,
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and indeed one Defendant was apprehended only recently and has yet to make an initial

appearance in this District. It is well settled that the speedy trial rights of defendants in a

multi-defendant case are based on the speedy trial clock of the last defendant to be arraigned.

See Henderson v. United States, 476 U.S. 321, 323 n.2 (1986) (noting that “[a]ll defendants

who are joined for trial generally fall within the speedy trial computation of the latest

codefendant”). Given that the last Defendant in this case has not yet been arraigned, the

speedy trial clock as to all Defendants will be re-set once that occurs. Thus, as the

Government notes, Martinez Escobar’s objection is moot.

       But even if the objection were not moot, it is without legal basis. Martinez Escobar

suggests that the Court sever the schedule for the newly apprehended Defendant from that

of the remaining Defendants. This is inefficient and likely inequitable; it certainly does not

serve the ends of justice. Magistrate Judge Leung correctly granted the Government’s

motion for an extension of deadlines in this complex and evolving case.

CONCLUSION

       For the foregoing reasons, and on the files, record, and proceedings herein, IT IS

HEREBY ORDERED that Defendant’s objection (Docket No. 188) is DENIED.



Dated: December 16, 2015


                                                     s/Paul A. Magnuson
                                                   Paul A. Magnuson
                                                   United States District Court Judge


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